                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                                DOCKET NO. 3:12-cr-00375-MOC
                                            And
                                 DOCKET No. 3:12cr13-5-MOC

UNITED STATES OF AMERICA,                                )
                                                         )
                                                         )
                                                         )
Vs.                                                      )                            ORDER
                                                         )
ABDUL WHITE,                                             )
                                                         )
                    Defendant.                           )



         THIS MATTER is before the court on defendant’s Applications for Writ [Ad

Testificundum] (#17 in 3:12cr375 and #296 in 3:12cr13).1                      Defendant seeks to writ his co-

defendant, Osman White, from federal custody so that such witness may “testify as to the nature

and circumstances surrounding the defendant’s actions at the times relevant to this Court’s

determination of the relevant conduct in this matter.” Motions at 1. Review of defendant’s

objections to the Initial Pretrial Report indicates that he may be seeking a downward variance

based on his personal characteristics and his offense conduct. Elsewhere in his objections,

defendant appears to argue that such variance or a reduction in offense conduct is warranted as a

number of the enhancements for conduct not known to him or reasonably foreseeable to him.

         Application Note 10 of USSG §1B1.3 states that in the case of “Accessory After the

Fact” (the offense to which defendant pled guilty), the defendant should be held accountable “for

all conduct relevant to determining the offense level for the underlying offense that was known,


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         Due to timing of the sentencing hearing and the discretionary nature of the relief sought, the court has not
awaited a response from the government. As this is not a pre-trial motion, L.Cr.R. 47.1, no consultation with the
opposing party is required.

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or reasonably should have been known, by the defendant.” As it now appears, the “Accessory

After the Fact” to which defendant pled was related to an armed robbery, and that defendant

agreed to assist co-defendant Roderick Hardin in distributing funds to various parties after the

offense. In asserting that defendant should be accountable for all conduct relevant to the

underlying offense, Pretrial Services proffers in the First Final PSR (#10) that the persons to

whom such funds were distributed (or their designees) were intimately involved in the planning

and commission of the underlying violent offense and that such persons had maintained a

relationship with this defendant, and that based on these relationships and actual distribution of

funds to one of the planners of the offense, defendant either knew or reasonably should have of

the conduct that comprised the underlying offense. First Final PSR (#10) at 13-14.

       The court can see how counsel for defendant could argue at sentencing that the

justification for applying such sentencing enhancements is a circular argument requiring

testimony as to: (1) the nature of the relationship; and (2) what defendant herein actually knew

when he became an accessory after the fact. See also Sealed Sentencing Memorandum (#16).

Review of the Second Final PSR (#13) reveals a predicted Guidelines Range of 57-71 months.

Defendant argues that if his objections are sustained by the court, he may be able to secure a

downward variance to a sentence of time served.

                                             ***

       The decision as to whether to issue a writ ad testificundum for purposes of presenting

evidence at a sentencing hearing is a discretionary one. Inasmuch as the writ substitutes as a

subpoena for a person in custody, [cite], the court looks to Rule 17(b), Federal Rules of Cirminal

Procedure, which provides that for an indigent defendant, “the court must order that a subpoena

be issued … if the defendant shows … the necessity of the witness's presence for an adequate



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defense.” Fed.R.Crim.P. 17(b). Based on Pretrial Services’ rationale for inclusion of such

enhancements, the court finds that the testimony of the proposed witness is necessary for an

adequate defense in this matter.

        Finally, the court finds that such application is timely under Local Criminal Rule 17.3(ii)

as it was made the day after the hearing was noticed. To the extent such request has not been

filed at least 14 days before the hearing as provided by Local Criminal Rule 17.3(ii), the court

finds good cause for honoring such request as the presence of the witness appears necessary to an

adequate defense and, when balanced against such right, his production would not cause undue

hardship as the witness appears to be housed within the Charlotte Division.



                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Writ Ad Testificundum

(#17 in 3:12cr375 and #296 in 3:12cr13) are GRANTED, and the writ is issued simultaneously

herewith.

       The Clerk of Court is directed to send a courtesy copy of this Order and the Writ Ad

Testificundum to trial/appellate counsel for Osman White in 3:12cr13-1, Anthony G. Scheer

(tscheer@rsfmlaw.com).

       The Clerk of Court is directed to send a copy of the Writ Ad Testificundum to the United

States Marshal.
              Signed: 2/18/2014




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